






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00325-CR






Douglas Eugene Carnes III, Appellant


v.


The State of Texas, Appellee






FROM COUNTY COURT AT LAW NO. 2 OF COMAL COUNTY

NO. 2008-CR-0339, HONORABLE CHARLES A. STEPHENS, II, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Douglas Eugene Carnes III was convicted of driving while intoxicated ("DWI").  See
Tex. Penal Code Ann. § 49.04 (West 2003).  The conviction was Carnes's second for DWI, which
made it a Class A misdemeanor.  See id. § 49.09 (West Supp. 2009).  Punishment was assessed at
300 days' confinement in Comal County jail.  Carnes appeals, arguing that the trial court erred by
admitting a prejudicial videotape into evidence and then refusing to grant a mistrial after the tape
tainted the jury.  We will affirm.


FACTUAL AND PROCEDURAL BACKGROUND

		Carnes was arrested for DWI and pleaded not guilty.  He had one previous DWI
conviction.  During trial, the State offered into evidence a videotape of a discussion between Carnes
and the officer who arrested him.  The videotape had been recorded by the officer's in-car camera
at the scene of Carnes's arrest.  Defense counsel requested a bench conference and informed the
court that the videotape was an edited version of a longer video.  Defense counsel stated that he had
only seen the longer version of the video.  After watching the longer version, defense counsel had
sent the State a letter asking it to redact certain audio portions before introducing the tape into
evidence. (1)  The State signed a written agreement to do so, but defense counsel expressed concern
that he had not verified that the redactions were carried over into the edited version of the tape the
State was offering into evidence.  The parties agreed to resolve the situation by submitting their
redaction agreement with the understanding that defense counsel would inform the court if the State
played any audio portion it had agreed to redact.  With that understanding, defense counsel stated
that he had no objection to the tape being introduced into evidence.

		The court admitted the tape into evidence, and the State began playing it for the jury. 
Defense counsel soon asked for the jury to be removed from the courtroom and then moved for a
mistrial "based on some comments that were made [on the video] that were supposed to be
excluded" under the parties' redaction agreement.  Defense counsel claimed that during the portion
of the video the State had just played, "you will hear my client, after some descriptive [sic] by the
trooper, he says, 'Well, last time I'-- and it's clear what context it is, the jury's going to be able to
perceive that last time I was arrested or last DWI and that was not supposed to be in the record."  The
court denied the motion for mistrial, stating that it was not clear what Carnes meant by "last time"
on the tape.

		The court recalled the jury, and the State resumed playing the video.  Defense counsel
again requested a bench conference.  He complained that in the portion of the video just played his
client had once again referred to "last time."  The court noted that Carnes had not filed a motion to
suppress the videotape and that in any event, judging by the time stamps displayed on the videotape,
the complained-of statement occurred during a portion of the videotape that defense counsel had not
asked the State to redact.  Defense counsel appeared to concede the latter point, although he
suggested that maybe the time-stamps on the video shown in court did not match the time-stamps
on the longer video that he had used as the basis for his redaction requests. (2)  Defense counsel again
moved for a mistrial, and the court again denied the motion.

		The trial proceeded.  At one point, Carnes introduced into evidence a police record
that showed he was being charged with "DWI - 2nd Offense."  The jury ultimately convicted Carnes. 
He now appeals.


STANDARD OF REVIEW

		We review a trial court's decision to admit or exclude evidence under an abuse of
discretion standard.  Green v. State, 934 S.W.2d 92, 101-02 (Tex. Crim. App. 1996).  A trial court
does not abuse its discretion by admitting evidence if its decision to do so is reasonable.  Id. (citing
Montgomery v. State, 810 S.W.2d 372, 391 (Tex. Crim. App. 1991) (op. on reh'g)).


DISCUSSION

		Carnes raises two points of error.  First, he argues that the trial court erred by
admitting the videotape into evidence because he objected to its admission and the court neither gave
him a chance to review the tape before its admission nor required the State to respond to his
objection "with a proper exception."  Second, he argues that the trial court erred by refusing to grant
a mistrial because the portions of the tape in which he said "last time" were "evidence of other
crimes, wrongs or acts" that should have been excluded under rules of evidence 404(b) and 403 and
a motion in limine that Carnes filed.

		We believe that both of these arguments are unavailing for the same reason--namely,
Carnes did not preserve an objection to the admission of the videotape.  After the court accepted the
parties' redaction agreement, defense counsel stated without qualification that he had "no objection"
to the admission of the videotape.  It is axiomatic that "affirmative acceptance of previously
challenged evidence waives any error in its admission."  Jones v. State, 833 S.W.2d 118, 126
(Tex.&nbsp;Crim. App. 1992). (3)  Thus, Carnes waived any misgivings he might have voiced before the
court admitted the videotape. (4)

		In any event, even if Carnes had preserved an objection to admitting the videotape,
he later waived it by introducing police records that included the same allegedly harmful information
revealed by the videotape--namely, that Carnes had a previous DWI arrest.  See Leday v. State,
983&nbsp;S.W.2d 713, 718 (Tex. Crim. App. 1998) ("It is well settled in this state that the erroneous
admission of testimony is not cause for reversal, if the same fact is proven by other testimony not
objected to."); Womble v. State, 618 S.W.2d 59, 62 (Tex. Crim. App. 1981) ("When a defendant
offers the same testimony as that objected to, or the same evidence is introduced from another
source, without objection, the defendant is not in position to complain on appeal.").  Thus, Carnes's
issues are without merit.


CONCLUSION

		For the reasons stated above, we affirm the trial court's judgment.


						__________________________________________

						David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   November 3, 2010

Do Not Publish
1.   The letter identified the portions that should be redacted by noting the time stamps that
were displayed on the video when they occurred.  For example, the letter requested redaction of
"Criminal history info at 10:42:23 ending at 10:44:34."  The edited video shown in court also bore
time stamps.
2.   Carnes does not make this argument on appeal.  That is to say, he does not claim that the
State violated the parties' redaction agreement by playing a portion of the videotape that it had
agreed not to.
3.   Under some circumstances, a party can preserve error despite uttering the phrase "no
objection" at trial.  See, e.g., Fierro v. State, 969 S.W.2d 51, 55 (Tex. App.--Austin 1998, no pet.)
(defendant preserved error despite saying "no objection" because he "did something to indicate he
really did have an objection" either contemporaneously or immediately afterwards).  This exception
does not apply here because Carnes's statement of "no objection" was unequivocal, and Carnes made
it after voicing concerns and agreeing to address them by filing the redaction agreement.  Cf. id.
4.   It is worth noting that while defense counsel initially voiced some misgivings about
introducing the tape into evidence, he did not actually lodge an unequivocal objection.  Rather, he
stated, "[m]y only concern is if I don't object to this and then it's got everything [on it that the State
agreed to redact]--" to which the court replied, "If you have an agreement, if you want to put the
agreement on the record, if [the State] violate[s] the agreement, we can deal with it."  Defense
counsel responded by stating, "Why don't we do that.  We'll make a quick agreement."  After the
parties made an agreement, defense counsel stated that he had "no objection" to admitting the tape. 
This exchange does not satisfy the rule pertaining to preservation of error.  See Tex. R. App.
P.&nbsp;33.1(a) (to preserve error, party must make objection, state ground for it, and either obtain a ruling
or object to court's refusal to make a ruling).


